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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

THE DUGABOY INVESTMENT
TRUST and GET GOOD TRUST
     Appellants,

                    v.                     CIVIL ACTION NO. 3:21-cv-2268-S

HIGHLAND CAPITAL
MANAGEMENT, L.P.,
    Appellee


In re:                                           CASE NO. 19-34054-sgj11
HIGHLAND CAPITAL
MANAGEMENT, L.P.,
       Debtor


      COME NOW, the Dugaboy Investment Trust (“Appellant”), creditor and

party in interest in the above-captioned bankruptcy case and appellant in the above-

captioned bankruptcy appeal, and, pursuant to 28 U.S.C. § 158(d), hereby appeal to

the United States Court of Appeals for the Fifth Circuit that certain Order (the

“Order”) entered by the District Court on August 8, 2022, at ECF Docket No. 21

dismissing the Appeal to the District Court from the Bankruptcy Court as moot.

      The names of the parties to the Order and the contact information for their

attorneys are as follows:




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   Respectfully Submitted this 24th day of August, 2022.

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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this the 24th day of August, 2022,
true and correct copies of this document were electronically served by the Court’s
ECF system on parties entitled to notice thereof, including on counsel for the
Appellee.

                                      /s/ Douglas S. Draper
                                      Douglas S. Draper




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